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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    ALEXANDRIA DIVISION


  STRAIGHT PATH IP GROUP, INC.,

                                                       Civil Case No. 1:13-CV-00932
                 Plaintiff,
                                                       Pertaining to Consolidated Cases:
                                                       Civil Case No. 1:13-CV-00932
         vs.
                                                       Civil Case No. l:13-CV-00937
                                                       Civil Case No. 1:13-CV-01100
  BANDWIDTH.COM, INC.,
  TELESPHERE NETWORKS LTD., AND
  VOCALOCITY, INC.
                                                       Hon. Anthony J. Trenga
                                                       Magistrate Judge Ivan D. Davis
                 Defendant



     ORDER DISMISSING WITH PREJUDICE ALL CLAIMS BETWEEN STRAIGHT
                       PATH IP GROUP. INC. AND VOCALOCITY. INC.

         Upon consideration of the Joint Motion by Plaintiff Straight Path IP Group, Inc.

  ("SPIPG") and Defendant Vocalocity, Inc. ("Vocalocity"), for an orderdismissing with prejudice

  all claims and counterclaims asserted between SPIPG and Vocalocity in this Action, it is hereby

         ORDERED thatall claims and counterclaims asserted between SPIPG and Vocalocity are

  DISMISSED WITH PREJUDICE. SPIPG and Vocalocity shall each bear their own costs,

  expenses, and attorneys' fees with regard to those claims.




                                                               Anthony J. Trer.ga
  Dated: July 3_, 2014                                         United States District Judge
                                                                 Anthony J. Trenga, District Judge
